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 4                                 UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                   ***
 7    UNITED STATES OF AMERICA,                                 Case No. 2:13-cr-00124-APG-PAL
 8                                           Plaintiff,                        ORDER
             v.
 9                                                                 (Mtn to Compel – Dkt. #41)
10    REUBEN CONWAY,
11                                        Defendant.
12

13           This matter is before the court on Defendant Reuben Conway’s Motion for Discovery, or
14    in the Alternative, for Exclusion of DNA Evidence (Dkt. #40) filed November 13, 2014. The
15    court has considered the Motion and the government’s Response (Dkt. #41).
16           Conway seeks an order compelling the government to provide all evidence concerning
17    “the gathering, analysis and relevant data leading to the conclusions expressed by Julie M.
18    Marschner” in her report regarding DNA collected in this case. As an initial matter, the court
19    notes that defense counsel has not complied with LCR 16-1(d), which requires counsel for the
20    movant to confer with opposing counsel in a good faith effort to resolve any discovery dispute
21    and certify that he was unable to resolve the dispute after personal consultation with counsel for
22    the opposing party. However, the government’s Response indicates that it provided Conway’s
23    counsel with the materials he requested November 21, 2014. Conway has not filed a reply
24    disputing this representation.
25    ///
26    ///
27    ///
28    ///
                                                          1
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 1          Accordingly,

 2          IT IS ORDERED that the Motion for Discovery (Dkt. #40) is DENIED AS MOOT.

 3          DATED this 15th day of December, 2014.
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                                                     PEGGY A. LEEN
 6                                                   UNITED STATES MAGISTRATE JUDGE
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